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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                 Plaintiff,             Case No. CR12-62-RSL

10          v.                                            DETENTION ORDER

11 JULIO FRAGA-PEREZ,

12                                 Defendant.

13 Offenses charged:

14          Conspiracy to Distribute Heroin and Methamphetamine,
            Conspiracy to Distribute Controlled Substances,
15          Conspiracy to Engage in Money Laundering, and
            Conspiracy to Engage in Money Laundering.
16
     Date of Detention Hearing: June 7, 2012.
17
            The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),
18
     and based upon the factual findings and statement of reasons for detention hereafter set forth,
19
     finds that no condition or combination of conditions which the defendant can meet will
20
     reasonably assure the appearance of the defendant as required and the safety of any other person
21
     and the community.
22
                 FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23
            Defendant is charged with offenses that presume detention. Defendant has failed to rebut


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 1 this presumption. The Court received no information about defendant’s ties to the community,

 2 residence, employment, finances or health. He has no lawful status in the country and an

 3 immigration detainer has been lodged against him. Defendant did not argue for release.

 4          It is therefore ORDERED:

 5          (1)    Defendant shall be detained pending trial and committed to the custody of the

 6 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 7 from persons awaiting or serving sentences, or being held in custody pending appeal;

 8          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 9 counsel;

10          (3)    On order of a court of the United States or on request of an attorney for the

11 Government, the person in charge of the correctional facility in which Defendant is confined

12 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

13 connection with a court proceeding; and

14          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

15 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

16 Officer.

17       DATED this 7th day of June, 2012.

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20
                                                          A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge
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     DETENTION ORDER - 2
